Case 2:04-Cv-02875-.]PI\/|-tmp Document 19 Filed 06/03/05 Page 1 of 2 Page|D 26
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IN THE UNITED sTATEs DISTRICT coURT mo BY~».' n --.._._D.Q
FoR THE wEsTERN DISTRICT oF TENNESSEE /

 

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cz_ERK. u.s. 01
AMY c. LEwIs, W. D. Of-' TN. M§;¢HQ
Plaintiff,

No. 04-2875 Ml/P

cHRISTIAN BROTHERS UNIVERSITY,
sTANIsLAUs soBczYK, TAU KAPPA
EPSILoN-cBU cHAPTER, INc. and
ALEx ARTHUR,

vvvvwvvvvv\-'v

Defendants.

 

ORDER SETTING TELEPHONE CONFERENCE

 

A telephone eonference has been set in this case for
Tuesdav, June 2l, 2005, at 8:45 a.m. Plaintiff's counsel shall

initiate the call with all parties en the line.

SO ORDERED this éz.th day Of June, 2005.

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J N P. MCCALLA
U ITED STATES DISTRICT JUDGE

    
 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02875 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

